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 4
     Attorney for Defendant
 5   David Robbie Forkner

 6

 7                    IN THE UNITED STATES DISTRICT COURT

 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )        CR NO. S-08-363 GEB
                                   )
11             Plaintiff,          )        STIPULATION AND
                                   )        ORDER CONTINUING
12        v.                       )        STATUS CONFERENCE
                                   )
13   David Forkner and             )
     Loretta Canham,               )
14                                 )
                                   )        Date:    11/20/09
15             Defendants.         )        Time:    9:00 a.m.
     ______________________________)        Judge:   Hon. Garland E.
16                                                   Burrell

17
          IT IS HEREBY stipulated between the United States of America
18
     through its undersigned counsel, Michael M. Beckwith, Assistant
19
     United States Attorney, together with counsel for defendant David
20
     Forkner, John R. Manning Esq., and counsel for defendant Loretta
21
     Leigh Canham, Dennis S. Waks Esq., that the status conference
22
     presently set for November 20, 2009 be continued to January 29,
23
     2010, at 9:00 a.m., thus vacating the presently set status
24
     conference.   This matter involves a     wire intercept on several
25
     telephones and related pen registers, as well as over 3000 pages
26
     of discovery.
27
          It is further stipulated that the time between November 20,
28
                                        1
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 1   2009 and January 29, 2010 can appropriately be excluded from the

 2   Speedy Trial Act pursuant to 18 USC § 3161(h)(7)(B)(iv) and

 3   (Local T-4).

 4   IT IS SO STIPULATED.

 5

 6   Dated: November 16, 2009                   /s/ John R. Manning
                                              JOHN R. MANNING
 7                                            Attorney for Defendant
                                              David Robbie Forkner
 8

 9   Dated: November 16, 2009                 /s/ Dennis S. Waks
                                            DENNIS S. WAKS
10                                          Attorney for Defendant
                                            Loretta Leigh Canham
11

12
     Dated: November 16, 2009                 Lawrence G. Brown
13                                            United States Attorney

14
                                        by:     /s/ Michael M. Beckwith
15                                            MICHAEL M. BECKWITH
                                              Assistant U.S. Attorney
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              Case 2:08-cr-00363-WBS Document 92 Filed 11/24/09 Page 3 of 3


 1
                        IN THE UNITED STATES DISTRICT COURT
 2
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 3

 4
     UNITED STATES OF AMERICA,       ) Case No. CR.S 08-363 GEB
 5                                   )
                     Plaintiff,      )
 6                                   )
          v.                         ) ORDER TO
 7                                   ) CONTINUE STATUS CONFERENCE
     David Forkner and               )
 8   Loretta Canham,                 )
                                     )
 9                                   )
                     Defendants.     )
10   _______________________________ )

11
          GOOD CAUSE APPEARING, it is hereby ordered that the November
12
     20, 2009 status conference be continued to January 29, 2010 at
13
     9:00 a.m.     I find that the ends of justice warrant an exclusion
14
     of time and that the defendant’s need for continuity of counsel
15
     and reasonable time for effective preparation exceeds the public
16
     interest in a trial within 70 days.         THEREFOR IT IS FURTHER
17
     ORDERED that time be excluded pursuant to 18 U.S.C. § 3161
18
     (h)(7)(B)(iv) and Local Code T4 from the date of this order to
19
     January 29, 2010.
20

21   Dated:    November 23, 2009
22

23

24

25                                    GARLAND E. BURRELL, JR.

26                                    United States District Judge

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28
                                           3
